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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES - GENERAL
               2:20-cv-08035-SVW-JPR                                                            April 29, 2021
Case No.                                                                                 Date

               Hong Liu v. Faraday & Future Inc. et al.
Title




        Present: The Honorable   STEPHEN V. WILSON, U.S. DISTRICT JUDGE
                        Paul M. Cruz                                               N/A
                        Deputy Clerk                                     Court Reporter / Recorder
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                              N/A                                                      N/A
        Proceedings:          ORDER GRANTING IN PART AND DENYING IN PART MOTION TO
                              DISMISS SECOND AMENDED COUNTERCLAIM AND MOTION TO
                              STRIKE AFFIRMATIVE DEFENSES [108]


           Before the Court is a motion to dismiss the Second Amended Counterclaim (SACC) and strike
    affirmative defenses in the Second Amended Answer (SAA). The motion is GRANTED IN PART and
    DENIED IN PART. The Court briefly explains its reasoning below.

           The parties have stipulated to dismiss with prejudice Defendant’s breach of fiduciary duty
    counterclaim. Dkt. 130. The Court accordingly considers Plaintiff’s arguments regarding this theory as
    a motion to strike the affirmative defense of breach of fiduciary duty based on violations of the Rules of
    Professional Conduct. Dkt. 93, at 15-16.

            The Court finds that the SAA sufficiently alleges breach of fiduciary duty and violation of the
    Rules of Professional Conduct as a defense to enforcement of the Employment Agreement. Defendant
    asserts numerous violations of both the California and New York Rules of Professional Conduct. The
    Court does not address every alleged violation, because only one would suffice to uphold the affirmative
    defense. The Court finds that Defendant plausibly alleges that Defendant violated California Rule of
    Professional Conduct 3-300. See generally BGJ Assocs. v. Wilson, 113 Cal. App. 4th 1217 (2003)
    (finding business contract between attorney and client unenforceable where attorney did not rebut
    presumption of undue influence). Defendant alleges that, despite serving as Defendant’s outside




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                                     UNITED STATES DISTRICT COURT
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    counsel, Plaintiff negotiated an employment agreement to serve as Defendant’s in-house counsel with
    terms that were not fair and reasonable to Defendant because they provided Plaintiff with excessive
    remuneration.1 Defendant also alleges Plaintiff failed to comply with Rule 3-300’s disclosure
    requirements. Whether Plaintiff actually engaged in conduct violating this rule, or others, and whether
    any ethical violations render the employment agreement unenforceable, are questions that can only be
    fully addressed with the benefit of a factual record on summary judgment. Accordingly, the motion to
    strike this affirmative defense is denied.

            For the same reason, the Court denies the motion to dismiss the UCL claim, which is derivative
    of the alleged ethical violations. See People ex rel. Herrera v. Stender, 212 Cal. App. 4th 614, 632
    (2012) (concluding violations of the Rules of Professional Conduct could be enforced as unlawful
    business practices under section 17200).

            The Court denies Plaintiff’s motion to dismiss the constructive fraud claim. “To state a claim for
    constructive fraud, a party must allege (1) a fiduciary or confidential relationship; (2) an act, omission or
    concealment involving a breach of that duty; (3) reliance; and (4) resulting damage.” Dealertrack, Inc.
    v. Huber, 460 F. Supp. 2d 1177, 1183 (C.D. Cal. 2006) (citing Assilzadeh v. Cal. Fed. Bank, 82 Cal.
    App. 4th 399, 414 (2000)). “Most acts by an agent in breach of his fiduciary duties constitute
    constructive fraud.” Assilzadeh, 82 Cal. App. 4th at 415. The particularity requirement of Rule 9(b) still
    applies to constructive fraud claims. See William Morris Endeavor Entmt., LLC v. Writers Guild of Am.,
    478 F. Supp. 3d 932, 943-44 (C.D. Cal. 2020) (“[T]o plead the circumstances of omission with
    specificity, plaintiff must describe the content of the omission and where the omitted information should
    or could have been revealed, as well as provide representative examples of ... representations that
    plaintiff relied on to make her purchase and that failed to include the allegedly omitted information.”).
    “[R]eliance need not be pled with particularity under Rule 9(b) because it is a condition of the mind.” In
    re NJOY, Inc. Consumer Class Action Ltig., 2013 WL 12586074, at *7 (C.D. Cal. 2013) (discussing
    disagreement among district courts).



    1
     As one example, Defendant alleges the agreement entitled Plaintiff to immediate vesting of equity options worth 2% of the
    company even if Plaintiff was adjudicated by a court to have breached his fiduciary duty. SACC ¶ 43(d).




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            Defendant has plausibly alleged the elements of constructive fraud and has done so with the
    particularity required by Rule 9(b). Defendant alleges a fiduciary relationship, namely an attorney-client
    relationship; a breach of duty, namely a failure to make disclosures under applicable ethical rules, see,
    e.g., William Morris Endeavor Entmt., 478 F. Supp. 3d at 944 (constructive fraud properly alleged based
    in part on failure to disclose conflicts of interest); Vaxiion Therapeutics, Inc. v. Foley & Lardner LLP,
    2008 WL 5122196, at *13 (S.D. Cal. 2008) (denying summary judgment on constructive fraud claim
    based on undisclosed conflict of interest); justifiable reliance, which, as discussed above, is a condition
    of mind that need not be alleged with particularity; and damages. Accordingly, the motion to dismiss
    Defendant’s constructive fraud claim must be denied.

            The Court finds that Defendant fails to plausibly allege unconscionability. As an initial matter,
    Defendant’s pleading of unconscionability comes in the form of a cause of action for rescission.
    However, rescission is not properly a cause of action. See Kaui Scuba Ctr., Inc. v. Padi Ams., Inc., 2011
    WL 13227827, at *6 (C.D. Cal. 2011) (“Rescission is a remedy, not a cause of action.” (citations
    omitted)). Even if the Court considered the unconscionability pleading on the merits, the Court would
    find that it lacks plausibility.

            To properly allege unconscionability, both procedural and substantive unconscionability must be
    present, although they can be present in different degrees. See Sanchez v. Valencia Holding Co., LLC,
    61 Cal. 4th 899, 910 (2015) (quoting Armendariz v. Found. Health Psychare Servs., Inc., 24 Cal. 4th 83,
    114 (2000)). “The procedural element of unconscionability focuses on ‘oppression or surprise due to
    unequal bargaining power.’” Poublon v. C.H. Robinson Co., 846 F.3d 1251, 1260 (9th Cir. 2017)
    (quoting Pinnacle Museum Tower Ass’n v. Pinnacle Market Dev., 55 Cal. 4th 223, 246 (2012)). “The
    oppression that creates procedural unconscionability arises from an inequality of bargaining power that
    results in no real negotiation and an absence of meaningful choice.” Id. (quoting Grand Prospect
    Partners, L.P. v. Ross Dress for Less, Inc., 232 Cal. App. 4th 1332, 1347-48 (2015)). Surprise is
    defined as “the extent to which the supposedly agreed-upon terms of the bargain are hidden in the prolix
    printed form drafted by the party seeking to enforce the disputed terms.” Gatton v. T–Mobile USA, Inc.,
    152 Cal. App. 4th 571, 581 (2007) (citation and quotations omitted).

            Plaintiff cannot plausibly plead oppression or surprise. Defendant was at the time of contracting
    a well-resourced corporation, having just received a multi-billion dollar valuation, and had ready access




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                                     UNITED STATES DISTRICT COURT
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    to counsel. Defendant fails to allege any facts demonstrating a lack of meaningful choice, or that it was
    less than equal in bargaining power to Plaintiff. Moreover, the relevant terms of the employment
    agreement were not buried in fine print but were clearly set forth in an instrument just three pages in
    length. See Cotchett, Pitre & McCarthy v. Universal Paragon Corp., 187 Cal. App. 4th 1405, 1420
    (2010) (no procedural unconscionability in fee agreement with “sophisticated corporate client” with
    access to counsel and “equal bargaining power”).

           Defendant argues that the agreement is procedurally unconscionable because its personnel
    negotiating the agreement were not native English speakers. However, courts have been skeptical of
    such arguments. See, e.g., Vargas v. Delivery Outsourcing, LLC, 2016 WL 946112, at *9 (N.D. Cal.
    2016). Moreover, Defendant’s allegation that Plaintiff took advantage of a language barrier is not
    plausible under these circumstances. Defendant had ample resources to either translate the agreement or
    engage a negotiator who was a native English speaker.

            Consequently, Defendant has failed to plausibly allege unconscionability.2

             For the foregoing reasons, the Court orders as follows:
                     Plaintiff’s motion is denied as to Defendant’s defenses to enforcement based on
                        breach of fiduciary duty and ethical violations, as well as to the UCL claim.
                     Plaintiff’s motion is denied as to Defendant’s constructive fraud claim.
                     Plaintiff’s motion is granted as to Defendant’s unconscionability claim.
                     Plaintiff’s motion is denied as moot as to Defendant’s breach of contract claim
                        because the claim has been voluntarily dismissed. Dkt. 130.

            Plaintiff is ordered to answer the SACC no later than May 12, 2021.

            IT IS SO ORDERED.

    2
      The Court notes that it does not and need not analyze at this stage whether the agreement constitutes an “unconscionable”
    fee in violation of California Rules of Professional Conduct 4-200. See Cotchett, Pitre & McCarthy, 187 Cal. App. 4th at
    1420 (applying substantive/procedural framework to attorney fee agreement); Shaffer v. Superior Court, 33 Cal. App. 4th
    933, 1000 (1995) (“We see no reason not to apply [the substantive/procedural framework] to the claim of an unconscionable
    legal fee. However, we are also assisted by Rule 4-200 of the Rules of Professional Conduct....”).




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